                 Case 2:13-cr-00165-TLN Document 48 Filed 12/04/13 Page 1 of 3


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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           CASE NO. 2:13-CR-0165 TLN
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   STACEY MISTLER, AND                                 DATE: December 5, 2013
     CHARLES CONNOR,                                     TIME: 9:30 a.m.
15                                                       COURT: Hon. Troy L. Nunley
                                  Defendants.
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17
                                                 STIPULATION
18
            1.      By previous order, this matter was set for status on December 5, 2013.
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            2.      By this stipulation, defendants now move to continue the status conference until February
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     13, 2014, and to exclude time between December 5, 2013, at 9:30 a.m., and February 13, 2014, under
21
     Local Code T4.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)     The government has represented that the discovery associated with this case
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            includes over 333 bate stamped pages including investigative reports and bank records. This
25
            entire discovery has been either produced directly to counsel and/or made available for
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            inspection and copying.
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                    b)     Counsel for defendants desire additional time to consult with their clients, review
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            the discovery, and discuss potential resolutions.

      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND     1
30    ORDER
                 Case 2:13-cr-00165-TLN Document 48 Filed 12/04/13 Page 2 of 3


 1                  c)     Counsel for defendants believe that failure to grant the above-requested

 2          continuance would deny counsel the reasonable time necessary for effective preparation, taking

 3          into account the exercise of due diligence.

 4                  d)     The government does not object to the continuance.

 5                  e)     Based on the above-stated findings, the ends of justice served by continuing the

 6          case as requested outweigh the interest of the public and the defendant in a trial within the

 7          original date prescribed by the Speedy Trial Act.

 8                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 9          et seq., within which trial must commence, the time period of December 5, 2013 to February 13,

10          2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

11          T4] because it results from a continuance granted by the Court at defendants’ request on the basis

12          of the Court’s finding that the ends of justice served by taking such action outweigh the best

13          interest of the public and the defendant in a speedy trial.

14          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

15 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

16 must commence.

17          IT IS SO STIPULATED.

18
     Dated: December 3, 2013                                  BENJAMIN B. WAGNER
19                                                            United States Attorney
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                                                              /s/ OLUSERE OLOWOYEYE
21                                                            OLUSERE OLOWOYEYE
                                                              Assistant United States Attorney
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25 Dated: December 3, 2013                                    /s/ LINDA PARISI by email authorization
                                                              LINDA PARISI
26
                                                              Counsel for Defendant
27                                                            CHALES CONNOR

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      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND      2
30    ORDER
             Case 2:13-cr-00165-TLN Document 48 Filed 12/04/13 Page 3 of 3


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 2 Dated: December 3, 2013                                /s/ MATT BOCKMAN by email authorization
                                                          MATT BOCKMAN
 3                                                        Assistant Federal Public Defender for Defendant
 4                                                        STACEY MISTLER

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 7
                                           FINDINGS AND ORDER
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          IT IS SO FOUND AND ORDERED this 3rd day of December, 2013
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12
                                                          Troy L. Nunley
13                                                        United States District Judge

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     STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND   3
30   ORDER
